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  2   700 Airport Blvd., Suite 160
      Burlingame, California 94010
  3   Telephone: (650) 513-6111
      Facsimile: (650) 513-6071
  4
  5   Attorneys for Non-Party JANE DOE
  6
  7
  8
                                 UNITED STATES DISTRICT COURT
  9
                                CENTRAL DISTRICT OF CALIFORNIA
 10
 11 JANE DOE;                                    )       Case No. 2-22-MC-00103
                                                 )
 12                Plaintiff,                    )       MOTION TO QUASH SUBPOENA
                                                 )
 13         v.                                   )
                                                 )
 14 DAVID GUILLOD,                               )
                                                 )
 15                Defendant.                    )
                                                 )
 16                                              )
 17 I.      INTRODUCTION
 18
            Pursuant to Federal Rule of Civil Procedure 45(c) and California Marsy’s Law, Non-
 19
      Party JANE DOE (hereinafter “Movant,” a California resident) hereby requests this Court
 20
 21 quash Defendant David Guillod’s subpoena issued on or around April 4, 2022 by the United
 22 States District Court of New Jersey under Case Number 2:21-cv-02743-SRC-CLW seeking
 23 non-party deposition testimony and documents related to Movant’s rape and sexual assault
 24
    allegations against Guillod, for which there are active criminal cases pending. Movant has
 25
 26 no knowledge of Plaintiff or the underlying civil case pending in the United States District
 27
 28

                                                     1
                                     MOTION TO QUASH SUBPOENA
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      Court of New Jersey, which appears to be related to a 1984 sexual assault by David Guillod
  1
  2 in New Jersey.
  3         Defendant Guillod’s subpoena is overly broad, unduly burdensome, seeks disclosure
  4
      of privileged matter and violates Movant’s constitutional rights under California Marsy’s
  5
      Law. Defendant’s only purpose for pursuing such subpoenas is to gather otherwise
  6
  7 prohibited discovery in his criminal case and to harass and intimidate his victims, including
  8 Movant. Furthermore, Guillod’s subpoena seeks testimony and documents in direct violation
  9
      of the September 22, 2021 Order by the Honorable Patricia Kelly granting the State’s Motion
 10
      to Quash subpoenas seeking identical discovery in the Superior Court of California, County
 11
 12 of Santa Barbara under case number 20-CR-80026. See Court Order, attached hereto as
 13 Exhibit A.
 14
      II.   STATEMENT OF FACTS
 15
            Movant is a complainant in the State of California’s case in the county of Santa
 16
 17 Barbara against David Guillod. See Superior Court of California, County of Santa Barbara,
 18 Case No.: 20CR80026. Movant has no knowledge of Plaintiff, has never met Plaintiff or
 19 spoken with Plaintiff, and has no knowledge of the facts or claims underlying the matter for
 20
    which she was subpoenaed to testify and produce documents.
 21
 22       Movant was served on or about April 25, 2022 with a subpoena to provide testimony

 23 and document production on May 3, 2022 in New Jersey Federal District Court Civil Action
 24 No. 2:21-cv-02743. See Subpoena, attached hereto as Exhibit B1. Defendant’s subpoena
 25
 26
 27   1
     Movant has redacted her own name, as she is an unnamed Jane Doe complainant in the above-
    mentioned criminal matter, as well as redacting Plaintiff’s name, who has filed under pseudonym.
 28 Movant will send an unredacted version directly to the Court if so directed.

                                                     2
                                       MOTION TO QUASH SUBPOENA
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      commands Movant’s appearance for a deposition by Defendant’s criminal and civil attorney,
  1
  2 Philip Cohen, Esquire, at his office in Santa Monica, California, and demands Movant
  3 produce the following documents:
  4
                  1. Any and all written communication between YOU and PLAINTIFF,
  5                  including but not limited to any communication by and/or between YOU
                     and any attorney(s) for PLAINTIFF;
  6
                  2. Any and all electronic and written communication received by YOU from
  7                  any law enforcement agency and/or District Attorney’s Office (whether in
                     New Jersey, California or any other jurisdiction) pertaining to
  8                  PLAINTIFF;
  9               3. Any and all electronic and written communication received by YOU from
                     any law enforcement agency and/or District Attorney’s Office (whether in
 10                  New Jersey, California or any other jurisdiction) pertaining to
                     DEFENDANT;
 11
                  4. Any and all electronic or written communication between YOU and
 12                  DEFENDANT.

 13          On May 1, 2022, Movant, not yet having retained counsel, sent to counsel for
 14
      Defendant a letter objecting to the subpoena and advising that, due to the deficiencies in the
 15
      subpoena, she would not be complying. See Movant’s Letter to Defense, attached hereto as
 16
 17 Exhibit C. Counsel for Defendant responded on May 2, 2022, threatening to move to hold
 18 Movant in contempt if she does not appear for the scheduled deposition on May 3, 2022. See
 19 Letter from Ronald Ricci, Esq., attached hereto as Exhibit D.
 20
    III. LEGAL STANDARD
 21
           The Federal Rules of Procedure generally provide that “[p]arties may obtain
 22
 23 discovery regarding any nonprivileged matter that is relevant to any party’s claim or
 24 defense[.]” Fed. R. Civ. P. 26(b)(1). On timely motion, the court for the district where
 25
      compliance is required must quash or modify a subpoena that...requires disclosure of
 26
      privileged or other protected matter, if no exception or waiver applies; or subjects a person
 27
 28 to undue burden.” Fed. R. Civ. P. 45(d)(3)(a).

                                                     3
                                       MOTION TO QUASH SUBPOENA
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             This Court is the appropriate venue for this motion because subpoenas must be
  1
  2 challenged before the court for the district where compliance is required. See Fed. R. Civ.
  3 P. 45(d)(3)(a) (“On timely motion, the court for the district where compliance is required
  4
    must quash or modify a subpoena[.]”)(emphasis added).
  5
    IV. ARGUMENT
  6
  7          The subpoenas issued by Defendant must be quashed as they are over broad, unduly

  8 burdensome, seek disclosure of privileged matter, and violation Movant’s Constitutional rights
  9 under Marsy’s law.
 10          First, Defendant’s subpoena is overly broad in that it seeks a wide range of documents,
 11
      including investigative documents, without properly defining or narrowing the scope of documents
 12
      by any date range. Second, Defendant’s subpoena is unduly burdensome, as Movant is a nonparty,
 13
      has no knowledge of Plaintiff or the underlying claims, and was given just over one week to attempt
 14
 15 to comply with the demands, and retain counsel for a matter in which she has no knowledge
 16 whatsoever.
 17          Next, Defendant’s subpoena seeks disclosure of privileged matter, as the testimony and
 18 documents sought by Defendant are of the same matter that was quashed by the Honorable Patricia
 19
      Kelly on or about September 22, 2021. Requiring Movant to comply with Defendant’s subpoena
 20
      would put her in violation of the Order prohibiting the disclosure of the subpoenaed information.
 21
             Lastly, Defendant’s subpoena is a violation of Movant’s Constitutional rights under Marsy’s
 22
 23 Law. Under Marsy’s Law, the California Constitution article I, § 28, provides Movant with the
 24 following enumerated rights:
 25                  1. To be treated with fairness and respect for her privacy and dignity, and to be free
                        from intimidation, harassment, and abuse, throughout the criminal or juvenile
 26
                        justice process.
 27                  2. To be reasonably protected from the defendant and persons acting on behalf of
                        the defendant.
 28                  3. ...

                                                        4
                                         MOTION TO QUASH SUBPOENA
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                   4. To prevent the disclosure of confidential information or records to the
  1                   defendant, the defendant’s attorney, or any other person acting on behalf of
  2                   the defendant, which could be used to locate or harass the victim or the victim’s
                      family or which disclose confidential communications made in the course of
  3                   medical or counseling treatment, or which are otherwise privileged or
                      confidential by law.
  4                5. To refuse an interview, deposition, or discovery request by the defendant,
                      the defendant’s attorney, or any other person acting on behalf of the defendant,
  5                   and to set reasonable conditions on the conduct of any such interview to which
  6                   the victim consents.

  7 California Constitution article I, § 28, section (b) §§1-5 (emphasis added).
  8
            Here, Phillip Cohen, Esquire, represents Guillod in both the criminal prosecution, and
  9
      the civil matter for which he is subpoenaing Movant’s testimony and production of
 10
 11 documents. Movant has no relationship whatsoever to Plaintiff or her claims. Defendant’s
 12 subpoena is clearly just an attempt to continue to intimidate, harass and abuse Movant
 13 throughout the criminal justice process, and the subpoena is a violation of Movant’s rights
 14
    as a victim of crime to be protected from Defendant, free from harassment, and her right to
 15
 16 be prevented from the disclosure of confidential information or records to the Defendant and
 17 her right to refuse deposition by the Defendant and his attorney.
 18 V.      CONCLUSION
 19
            For the foregoing reasons, Movant respectfully requests this Honorable Court grant
 20
 21 Movant’s Motion to Quash the April 4, 2022 Subpoena by Defendant David Guillod.
 22 Dated: May 3, 2022                              THOMPSON LAW OFFICES, P.C.

 23
 24                                                 By:
                                                          Robert W. Thompson, Esq.
 25                                                       Attorney for Non-Party Jane Doe

 26
 27
 28

                                                     5
                                      MOTION TO QUASH SUBPOENA
                                      SUPERIOR COURT OF
                                       CALIFORNIA,                                  COUNTY OF SANTA BARBARA— CRIMINAL MINUTE ORDER
                 Case 2:22-mc-00103-JLS-PD   Document 1 Filed 05/03/22 Page 6 of 14 Page ID #:6
 People of the State of California vs.                                                                                                                 CASE NUMBER:
 C] Deft True Name:
                                                                                   Miller       —   Criminal                                                                                                   2001180026
                                                                                                                      DATE:                            TIME:                               DEPT:
       Guillod, David                    //A’J )                                    2502675                               09/22/2021                       1: 30     PM                      SMDept                   6
 HEARING:                   Motion 7’3 @094; 5073
                                               A                  jaw [00                  e:       /'    l?          CLERK:                      E.       Corral
 JUDGE:
  DISTRICT ATTYI
                            Honorable Patricia Kelly
                            Jennifer Karapetian                      L. fan (a all-IL
                                                                                                                       REPORTER;                  M Ht
                                                                                                                                                 I7                  ”L
                                                                                                                      CUSTODY STATUS: BIB/Supervised Release
                                                .63
  DEFENSE Ami
                            Philip R Cohen                                -
                                                                               #2: mi: 0"                             AGENCY:           DATE OF VlOL:       DOB:
  Interpreter                                           sworn: language                                               Sheriff ' 5 Dept: 12/14/2014      01/08/1967
                                                                                                                                                                                       90200“
                                                                                                                                                       '



 CHARGES;                 001          Pczosm               -P                       004            eczesa                      -E‘                                 007                                               -E‘
                          002          eczsm                -E‘                      005            pczesn                      -P                                  000                pczsm                          -e
   V! ‘4.    mm           003          eczema:              -P                       006            pczeau                      -i‘                                 009                Dczsnac                        -P
  ‘ ppearances:      m/Deft present              I]
                                         Deft not Present E] In Custody                                  E]             E] Unsupervised I] Supervised I]
  I With Atty    I]
                With PD           [I
                              By Atty C] By PD El Needs Atty                                             E] Probation Granted for      mos/yrs, imposition of sentence suspended
  I PD appointed       [I
                     PD declares conﬂict C] PD relieved E] CDA appointed                                 1:] Probation Granted for        mos/yrs. Deft sentenced to       days/mos
 E] 977 PC waiver ﬁled E] Defense/PD declares lost contact                                               Santa Barbara County Jail. suspended for             days/mos/yrs
 C] 170.6 CCP Judge                                  by E] Defense El People                             E] Supervision Granted for             mos/yrs, see page two of minute order
  [ICase assigned for all purposes to                                                                    E] See Prob/Sup Order incorporated herein for all Terms and Conditions
                                                                                                         1:] Revoked E] To Retain Jurisdiction. [II To Impose/Execute Sentence
   Filed: [:1 Amended Complaint E] Amendedlnformation I] Information                                     El Terminated E] Prob to terminate upon completion of I] Jail I] Fine
   E! Deft advised of rights (see reverse) E] Deft/Atty waives formal reading and                        [I Reinstated El Modiﬁed E] Existing terms and conditions
   advisement of rights El Defense handed copy of [:1 Comp                I] Info                        El  Modiﬁed, order incorporated herein El Term stricken
   [:1 On DA/Court's Motion, Complaint/Information amended:                                              1] Extended for              months/yrs, terminate on
 [I     To add count  _       viol of               and CI   count_       viol of                        1:] Formal Prob modiﬁed to Court E] Court Prob modiﬁed to Formal
   E] To reduce/replace count(s)                          to                                             I]  Prob unsupervised upon completion E] Jail     SCRAM [1 Rest E] Fine        I]
   E] Ct(s)                                         reduced to Misdemeanor per 17b PC                                                                           ~




   E] Deft is duly arraigned and pleads:               [I
                                                        Not Guilty to Ct(s)                              As to Ct(s)              Deft to serve              Days in Santa Barbara
   E! No Contest to Ct(s)                             I]
                                                       Guilty to Ct(s)                                   County Jail [3 per 1170(h) PC [I Credit for time served 1:! Deft granted
   D Denies Prior              E] Admits             Prior(s) El Prior(s)           Stricken             credit for                  actual days time served plus                                                           good/work
   1] Special Allegation(s) / Refusal E] Denied El Stricken                                              time credits for a total of            days.
   E] Admitted
  [t    Ct(s)
                                                                             /}A [INS/re
                           El Dismissed on Motion of DA/Court in te‘re’st ofJustice                 ) [I[I  Deft to report to jail on or before noon/at
                                                                                                            SB [:1 SM [:1 May be served in any penal institution
                                                                                                                                                                  on

.
   (1385 PC) I] Dism on Motion of DA/Crt on other grounds an:                         5—(1               E] New remand, Vacate previous Jail report date of
   [1 Harvey wa' er ct(s)    _      [I aretta waiver ﬂd CIArb            waiver gIven/fled               E] Sentence to be served CI Consecuq've El Concurrent to
  )ZTMotion
                by;Cog/b              z; (ﬁl‘asbéDE                     Granted
   [I Deft waives ti e for E] Arraignment E] Prelim El Trial El Sentencing
                                                                                                                                                                      AI: .

  [I    Time waived for                   days C] Time waived to                                         1:] Deft to report to                             for booking and release within                                        days
   C] General Time Waiver C] Other:                                                                      E] Bookin- fee ordered                 [I Booking fee waived
                                 I]   Defense handed copy of Violation of Probation                                                                                       [:I See Probation Order
   Report   [I   Deft advised of alleged Violation of Probation and all VP rights                        C] License suspended               I] License restricted for           days/mos/yrs
   L—_] Deft admits viol & waives all VP rights I] Deft denies alleged Viol of Prob                      [:1 Petition for Restrict          El Granted [I Denied E] ”D required
 [I     Deft found in Violation of Probation E] Deft not found in Viol of Probation                      Deft to attend E] 15‘ Offend-3 mo [:1 1“ Offend-9 mo E] 12hr prog E] Multi-Off
                  El Diversion granted on Ct(s)                  for          months/years,              E] Re-referred, enroll by
   order incorp. herein El Denied El Reinstated E] Violation admitted                                                                  [I
                                                                                                                                   See Probation Order
    E] Terminated and criminal proceedings reinstated                                                    I] As to C] All [I Count(s)              . Fine ordered of $

                  El Report/Refer to Probation within                          hrs/days for:             I] As to Count(s)                  Fine ordered of $
   El Pre-Plea Report [I 1203c Report            I]  ODARA assessment          I] SCRAM                  E] Plus Restitution/OR/CR Fine/Fee of $175.00 per 1202.4/1463.07 PC.
   El Pre-Sentence Rpt CI Anger Mgmt [I Restitution El Other                                             1] Due Today [:I Or pay total amount due plus an additional $30.00 per PC
   E] Firearms Assessment E] OralNVritten Supplemental E] Work Service                                   1205 in full within 60 days I] of release or     by                 [I
                                                                                                                                                                           , or sign up for

   E] Recommended Therapies             I] Referral given to Probation Ofﬁcer in court                   the installment payment plan. [2 Make checks payable to "Clerk of the Court"
                         [:1 Remanded to the custody of the Sheriff                                      El Diversion Restitution Fee of $                 by
   E] Bail set at $                            [:I No Bail I] Cite Release continued                     E] Victim Restitution in the amount of $                           is ordered
   Deft ordered   I]    released E] to return E] discharged on this case only                            E] 5                        of FineIs                 I]
                                                                                                                                                  Exonerated by Jail [:1 Suspended
   1:] To Representative of:                                           A                                 I]  May be paid by Comm Service E]               hrs Comm Serv by
   E] Released on [:1 OR         I]  Supervised Release      ,8   O     R ontinued                       E] ModifyIﬁne terms to $
                                                                                                         E] Pay CCA E] FTA/ FTP El Security Fee of $
                                                                                                                                                        due by
   E] OR/SR revoked [:I Deft to be seen by Med. Tech/Co nty Mental Health                                                                                               by
   E] Deft to be dressed out      [I   with property for release El Jury Trial I] Until                  [I  Pa PD/CDA/Att costs of $                          by
   further order byt       Court [:I Ot      .                                                           CASE ORDERED CONTINUED TO:                   _           _                                                         __




                                                                                                                                                                    :Heaging:
                                                                                                                                                                            __   ___                 __   -.     __




   1] Cash Bail         Bail Bond         Continued El Forfeited El Exonerated                        LDat_e:_   __   _         __'l'_irr_ie:__                                                                  _______D_ept_:___:I



 m
   E] Reinstated and Exonerated E] Apply to Fine El Reassumed
   1:] U on payment of$                                fee by
                                                            El 978.5 PC El 40508a vc
                                                                                                         /0 '0 9            *Q—        I            [0.30ﬂm                                      /*5                             0'
                Ordered per
   El 1203.2 PC $                            , El No Bail El Held until
   El May be forfeited D May be served at night El Quashed
   D RECALLED E] Warrant remains out E] Afﬁdavit/Declaration requested
                                                                              I]Released
                                                                                                           /   74 A         =         A                ”C            a 7L //' ‘30 ”M \J
                                                                                                                                                                                             '



   Other Orders: E] Criminal proceedings El suspended E] reinstated
   E] Fine/Jail stayed pending appeal E] Statement of appeal settled/certIf‘ ed                       E’Vacate date 0f
                                                                                                                                             '     J3'   D 09ft must be personally present
   [I Deft Sentenced to El State Prison E] Jail 1170(h) PC, Packet to follow                             CI    timated     El     Trial    1] Prelim D Hearing Length
                                                                                                                                                           D                           D                       l3 0“ calendar
                                                                                                                                                                                                 .

   E] 4011. 6 PC report [:1 136.2 PC Protective Order CI 288.1 PC report                                      Commenced                    oncluded            I“ PFOQYeSS Commuefl
   E] 730 EC report El 136.2pc Order dated                       vacated                                 E] Reschedule            by [:1 Court         I] Party 1:] Last Date for TrIal
   D 1368 pc Declared CI Dr(s)                                                     appointed
                                                                                                         See   [I     reverse side         I]     page two for supplemental minute order

  Comm/023-            EC >Z'Q(anél(
 7ZJ ZULEL
                                                                                                         By    (’1        d r-rz           ,/                                                                         Deputy Clerk
                            Case 2:22-mc-00103-JLS-PD Document 1 Filed 05/03/22 Page 7 of 14 Page ID #:7

ARRAIONMENT I ADVISEMENT (applicable entries initialed):
                                                                                                                                                                   I




                          ATTORNEY waived formal reading and advisement of rights.
                          DEFENDANT advised of his/her constitutional rights as follows: ‘
                                                    (JURY TRIAL) Right to trial byJury
                                                                                                                                                                            '   \
                                                                                                               I
                                                    (SELF INCRIMINATION) PQvilege against compulsory self-incrimination
                                                    (CONFRONTATION) Right--to confront and cross- examine witnesses.
                                                                                                        all                                              of counsel
                                                    (COUNSEL) Right to be’ represented by an attorney at stages of- theproceedmgs and
                                       .
                                                                                              '
                                                                                                                                      to the
                                                    if one is unable to afford one.                                                          appointment
                                                                                                                                                                                    .ts,\
                                                    (CONTINUANCE) Right to a reasonable continL'Iance
                                                    (SPEEDY TRIAL) Right to_ a speedy and public trial.
                                                    (COURT TRIAL) Right to a court trial.                                                                                                                                                                       i   :‘2‘ Us“;
                                                    (SUBPOENA) Right to subpoena witnesses on ones ownbehalf.
                                                    (PL'EA) Right to plead guilty or not guilty:
                                                                    Deft duly arraigned.‘
                                                    (ARRAIGNED)
             "(PRELIMINARY HEARING) Right to a Preliminary Hearing.
                (60 DAYS) Right to have a trial within 60 days of theIﬁling of an indictment
                                       -
                                                                                                                                                                                                          or
                                                                                                                                                                                                               information.                   ,'_




PLEA ENTERED '/ ADMONISHMENTS AND WAIVERS (applicable entries initialed).
                  ,       Defendant withdraws plea of guilty as to                            count(s)
                          COURT ﬁnds that the                                                     waived each of the constitutional rights after being specifically
                                                                                 was advised,- understands,
                                                                                                                                                                     queried
                                                                                                                                                                             as
             "‘
                          to each one.          Defendant                                     and

                                   (PRO-PER) Defendant waived counsel.
                                   (COUNSEL) Defendant represented by counsel                                                                                                                                           '


                                   (CONCURRENCE) Defense counsel concurredIn defendant's plea or admission                           A."   }   .:I                                                                                   .                .
                                                                                                                                                                                                                                                                           _




                          COURT found plea   was  knowledgeable, intelligently      made   and  voluntary.
     II it




                                                                                                                                                                                                                                                                                '
                                                                                                                                                           I'
                          (CHARGES) Court informed the defendant of the charges and direct consequences of plea
                          (RIGHTS) Court informed the defendant that by pleading guilty/no contest lie/sheIs giving- up-the                                                                                                                                                                _




                          COURT finds that the pleaIs freely and veluntarily made.                                          constitutional rights listed below.
                          The COURT accepts   the defendant’ s plea of guilty or no  contest.
 til III




                          The COURT finds that the defendant understands the nature of the crimes charged and the                             guilty/no contest
                          COURT ﬁnds that there'Is a factual basis for the plea.                                       consequencesof. the                      plea
                          (WRITTEN PLEA)   Written       of
                                                   plea guilty/no    contest  form  executed   by defendant and ﬁled
        i




                          (IMMIGRATION) Defendant advised                5 PC as to the effect of      on immigraIiOnstatus
                                                                                       per 1016.                                                                                plea        '   II“
                                                                                                                                                                                                           :1, z   I‘
                          (WAIVED) Defendant was informed of and WAIVED his/her constitutioI‘IaI rights as
            I




                                  (JURY TRIAL) Right to trial byjury.
                                       '
                                                                      I '. . .                             fellows;           .                       .




                                                    (SELF INCRIMINATION) Privilege against compulsory self-IncnmInatIon
                           it Ill It




                                           -

                                                     (CONFRONTATION) Right to Confront and cross examine witnesses.
                                                    (CONTINUANCE) Right to‘a reasonable continuance“
                                                     (SPEEDY TRIAL) Right to a speedy and public trial.‘
                                                     (COURT TRIAL) Right to a_ court trial.                                                                                                                                  '

                                           .
                                                     (SUBPOENA) Right to subpoena witnesseson ones own behalf.                                                                         .


                                                                                                         all
                                                     (COUNSEL) Right to be represented by an attorney at stages
                                                                                                                of the proceedings and                                                                                                       to     the appointment of counsel
                                                    if one is unable to
                                                                           affordone.
                                               4-   (PRELIMINARY HEARING) Right to a Preliminary Hearing.
                                                       DAYS) Right to have a trial within 60 days of the _ﬁling- of an indictment or information.
                                                    (60                          I".




                              ‘
                                SUPERIORCOURTS OF CALIFORNIA                                                                                                                                                                PROBATION DEPARTMENTS
                                  COUNTY
                                         OF'SANTA'BARBARA                                                                 '

                                                                                                                                                                                                      -                 .
                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                ._ Santa Barbara
                              SANTA BARBARA— FIGUEROA DIVISION                                                                        .                                                                    117 East Carrillo Street, Santa Barbara, CA 93101                                                  ~




                                                       118 East Figueroa Street                                                           '
                                                                                                                                                                                                                                                               882- 3700
                                                                                                                                                                                                                                                  Phone: (805)
                                                    Santa Barbara, CA 93101-2113
                                                                     568- 3959                                                                                                                                                                             Santa Marta
                                                        Phone. (805)                                                                                                                            2121       S Centerpointe Parkway. Santa Maria_CA .93455- 6139
                                  SANTA MARIA—MILLER DIVISION"                                                                .   _
                                                                                                                                                  3"“     \x                                                                                 Phone:' (805) 803-8500
                                  ""‘J‘ ‘312- MEast Cook Street                                       »                                       .
                                                                                                                                                           '
                                                                                                              '
                                                   Maria, CA 93454-5165                                                                                                                                                                                     Lompoc
                                           J Santa
                                                                                                                                                               ,




        ﬁ'            _
                           535».                Ph‘one:(805)34627550.~~-3-
                                                     s~~                                                  .           x                                                                                         415         E CypressAvenue Lompoc,CA                                      93436 '
                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                  Phone. (805)737-7800
                                                                LOMPOC DIVISION                   _




                                                           a115 Civic Center.PIaza=. ‘3"0                             3                                                                                                 SANTA BARBARA COUNTYJAILS
                                                           Lompoc, CA 93436-6967 f
                                                                                                                  1
                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                 A




                                                            Phone: (805) 737-7789.
                                                                                                          -
                                                                                                                                                                                                                                                          Santa Barbara
                                                                                                                                                                                                                                                  4436 Calle Real                      .


                                                               SOLVANG DIVISION                                                                                                                                                              Santa Barbara CA 93110
                                                                 1745 Mission Drive
                                                                Solvang, CA 93463.
                                                               Phone: (805) 686-5040
                                                                                          .
                                                                                                                                                                                                                                             Santa maria-Substation
                                                                                                                                                                                                                                             812-A West Foster Road
                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                          ‘
                                                                                                                                                                                                                                              Santa Maria, CA 93455                            --‘   f;

                                                                                                                      of the Court
                                  fines: Make                                          to "Clerk
 _

       For Court                                                   checl<s payable                                           \a‘n                 »                    'I
                                                                                                                                                                                                                                                                                    80-3400 (Rev. January 2020]
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 May 1, 2022

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 Ricci & Fava LLC
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 Totowa, NJ 07512
 rricci@riccifavalaw.com

 Philip Cohen
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                                  Letter objecting to subpoena

 Mr. Ricci and Mr. Cohen,

 I am writing to object to a subpoena dated April 4, 2022 to provide testimony and production on
 May 3, 2022 in Civil Action No. 2:21-cv-02743.

 For background, I am one of the six Jane Doe victims in the criminal proceeding against the
 defendant in this civil case, David Guillod. The criminal proceeding is case number 20CR80026,
 in the Superior Court in California, Santa Barbara County. In the criminal case, Mr. Guillod is
 charged with multiple counts of felony sexual assault of me and the other victims. Currently, the
 criminal proceeding is in the preliminary hearing stage.

 As a Jane Doe victim of sexual assault in the criminal matter, I request my anonymity be retained
 as such in this matter. Specifically, I request that my name be redacted or designated as Jane Doe
 in any filings or public documents.

 My objections to this subpoena are as follows:

 Relevance. Until I received this subpoena, I was not aware of the name of the Plaintiff in this
 lawsuit. I have never communicated with Ms.                 and I do not know her personally. I
 am not involved in any way in this civil proceeding, and I don’t believe I have information
 relevant to it.

 Time. I was served this subpoena on April 25, 2022, leaving me 7 days to respond to it. This is
 not enough time for me to make arrangements to testify and produce documents, nor enough
 time for me to obtain an attorney to provide me with advice and representation related to this
 subpoena. The Federal Rules of Civil Procedure that are attached to the subpoena state that a
 subpoena must be quashed or modified where it “fails to allow a reasonable time to comply.”
 (Rule 45(d)(3)(A)(i)).
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 Marsy’s law. The California constitution provides me with rights that I believe will be violated if
 I am forced to provide testimony and evidence in this case.

 These rights were already enforced by the court in the criminal matter, which quashed a
 subpoena from the defendant’s attorney that demanded that I provide many of the same
 documents that are requested in this new subpoena for the civil case in New Jersey. I think the
 same rationale for protecting me applies here. If I am forced to comply with this subpoena, it
 will be as if Marsy’s law has no effect in protecting me. Additionally, the Federal Rules of Civil
 Procedure require the court to quash or modify a subpoena that requires disclosure of protected
 matter. (Rule 45(d)(3)(A)(iii).

 Privacy and protection. My identity and privacy are protected in the California criminal case
 because I am a “Jane Doe” victim. However, this subpoena has my name on it, and I am worried
 that my identity will be exposed if I am forced to provide testimony under my actual name in this
 separate civil case.

 Based on these objections, I believe the subpoena is deficient and does not require my
 compliance as stated therein.

 Thank you,
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